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AO I06 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT Co
                                                                     for the
                                                         Southern District of California                                                           ,·,!IA
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              In the Matter of the Search of
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                                                                        )
         (Briefly describe the property to be searched
          or identify the person by name and address)
                                                                        )
                                                                        )           Case No.         19 MJ 4877
               LG LM-X220MB Cellular Phone                              )
                Serial No. 905CYCV0073595                               )
                 IMEI 355292-10-065595-4                                )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A.
located in the             Southern               District of               California           , there is now concealed (identify the
person or describe the property to be seized) :
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                        Offense Description
        21 USC 952 , 960; 21 USC                   Importation of a Controlled Substance; Conspiracy to Import a Controlled
        952 , 960, 963;                            Substance

          The application is based on these facts:
        See attached affidavit of Jeffery Porter, HSI Special Agent

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                         Jeffery Porter, HSI Special Agent
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:            ,,bje                                                             1Au0&1&±·
                                                                                   V                ~
                                                                                         Judge 's signature

City and state: San Diego, California                                             Hon . Allison H. Goddard, U.S. Magistrate Judge
                                                                                                Printed name and title
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 1                                            AFFIDAVIT
 2            I, Special Agent Jeffery Porter, being duly sworn, hereby state as follows:
 3_11 _____                                                                     -- - --         -- - - - - -
                        - --      - --     INTRODlJCTION- · -                             -·-



 4            1.    I submit this affidavit in support of an application for a warrant to search the
 5 II following electronic device:
                           LG LM-X220MB Cellular Phone
 6
                           Serial No. 905CYCV0073595
 7                         IMEi 355292-10-065595-4
                           ("Target Device")
 8
 9
   II as further described in Attachment A, and to seize evidence of crimes, specifically
      violations of Title 21, United States Code, Sections 952,960 and 963 , as further described
1011
      in Attachment B.
11
             2.    The requested warrant relates to the investigation and prosecution of Michelle
12
13
   II Guadalupe MALDONADO FELIX ("MALDONADO FELIX") for importing
14
   II approximately 19 .22 kilograms of methamphetamine from Mexico into the United States.
15
   II See US. v. Maldonado Felix, Case No. 19-CR-3717-CAB (S.D. Cal.) at ECF No. 1
      (Complaint). The Target Device is currently located at the Office of the Special Agent in
1611 Charge at 880 Front Street in San Diego, CA 92101.
17
             3.    The information contained in this affidavit is based upon my training,
18
19
   II experience, investigation, and consultation with other members of law enforcement.
      Because this affidavit is made for the limited purpose of obtaining a search warrant for the
20
      Target Device, it does not contain all the information known by me or other agents
21
      regarding this investigation. All dates and times described are approximate.
22
                                            BACKGROUND
23
              4.    I have been employed as a Special Agent with Special Agent, Homeland
24
     Security Investigations since July of 201 7. I am currently assigned to the HSI Office of the
25
     Deputy Special Agent in Charge, in San Ysidro, California. I am a graduate of the Federal
26
     Law Enforcement Training Center in Glynco, Georgia.
27
              5.    During my tenure with HSI, I have participated in the investigation of various
28
     drug trafficking organizations involved in the importation and distribution of controlled
                                                   1
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         1 II substances into and through the Southern District of California.
         2 II       6.     Through my training, experience, and conversations with other members of
--- - -- 3   lllaw enforcement~! have gained-a working knowledge oftlfe-operational habits of narcotics
         4 II traffickers, in particular those who attempt to import narcotics into the United States from
         5 II Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
         6 -11 work in concert with other individuals and to do so by utilizing cellular telephones. Because
         7 II they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
         8 II out various tasks related to their trafficking activities, including, e.g., remotely monitoring
         9 II the progress of their contraband while it is in transit, providing instructions to drug couriers,
       10 II warning accomplices about law enforcement activity, and communicating with co-
        11 II conspirators who are transporting narcotics and/or proceeds from narcotics sales.
       12 II        7.     Based upon my training, experience, and consultations with law enforcement
       13 II officers experienced in narcotics trafficking investigations, and all the facts and opinions
       14 II set forth in this affidavit, I know that cellular telephones (including their Subscriber
       15 II Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
       16 II for example, phone logs and contacts, voice and text communications, and data, such as
       17 II emails, text messages, chats and chat logs from various third-party applications,
       18 II photographs, audio files, videos, and location data. In particular, in my experience and
       19 II consultation with law enforcement officers experienced in narcotics trafficking
       20 II investigations, I am aware that individuals engaged in drug trafficking commonly store
       21 II photos and videos on their cell phones that reflect or show co-conspirators and associates
       22 II engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
       23 and assets from drug trafficking, and communications to and from recruiters and
       24 organizers.
       25           8.     This information can be stored within disks, memory cards, deleted data,
       26 II remnant data, slack space, and temporary or permanent files contained on or in the cellular
       2711 telephone. Specifically, searches of cellular telephones may yield evidence:
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                   a.       tending to indicate efforts to import methamphetamine, or some other
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                            federally controlled substance, from Mexico into the United States;
    2
_            ___ - b.----tending Jo_.identify_accounts,- facilities, -storage de-vices, andlor- services=--= -
    3   11                  such as email addresses, IP addresses, and phone numbers-used to
    4                       facilitate the importation of methamphetamine, or some other federally
                            controlled substance, from Mexico into the United States;
    5
    6              C.       tending to identify co-conspirators, criminal associates, or others involved
                            in importation of methamphetamine, or some other federally controlled
    7
                            substance, from Mexico into the United States;
    8
                   d.       tending to identify travel to or presence at locations involved in the
    9
                            importation of methamphetamine, or some other federally controlled
10                          substance, from Mexico into the United States, such as stash houses, load
11
                            houses, or delivery points;

12                 e.       tending to identify the user of, or persons with control over or access to,
13                          the Target Device; and/or

14                 f.       tending to place in context, identify the creator or recipient of, or establish
15                          the time of creation or receipt of communications, records, or data involved
                            in the activities described above.
16
                                    FACTS SUPPORTING PROBABLE CAUSE
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                   9.       At about 10:00 a.m. on August 23, 2019, Officer_Ahedo was conducting traffic
18
             control in the pre-primary area of the San Ysidro, California port of entry ("POE"). At that
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             time, Officer Ahedo responded to a radio call from CBP Officer Franco that his Narcotics
20
             Human Detection Dog (NHDD) alerted to a vehicle on lane 23. CBP Officer Ahedo
21
             responded to a red Nissan March with Baja California License Plate AMS316A (the
22
             "vehicle"), driven by MALDONADO FELIX. CBP Officer Ahedo received two negative
23
             Customs declarations from MALDONADO FELIX.
24
                    10.     Per the report of CBP Officer Franco, his NHDD al~rted to a trained odor at
25
             the undercarriage of the vehicle. The vehicle was scanned with the Z-Portal X-Ray
26
             machine. In that scan, Officer Montano observed anomalies in the gas tank and firewall of
27
             the vehicle.
28
                    11.     While in the secondary area, CBP Officer Canino was designated as the
                                                            3
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       1 II seizing officer for the vehicle. Officer Canino conducted a seven-point inspection of the
       2 II vehicle and found a total of 38 packages. Officer Canino found 12 packages in the
---- -T11-dashboard;-whtclf-ti-eld tested posittve-for methamphetamtneand 26-package-s -iri the -gas·
       4 II tank, which field tested positive for methamphetamine. The methamphetamine had a gross
       5 II weight of 19.22 kilograms.
       611        12.   MALDONADO FELIX was placed under arrest for violation of21 U.S.C. §§
       711952 and 960. Officer Canino seized the Target Device (along with the methamphetamine,
       8 II the vehicle, and other effects) as incident to the arrest.
       9 II       13.   Agents responded to San Ysidro POE and interviewed MALDONADO
      1O II FELIX. MALDONADO FELIX was advised of her Miranda rights and she agreed to speak
      11 II with agents. MALDONADO FELIX stated that her sister's boyfriend, "Lener," whom she
      1211 met three weeks ago, asked her two days ago to pick up money in the U.S. and bring it
      13 11 back to Mexico. MALDONADO FELIX stated he asked her to pick up $15,000 USD in
      1411 Los Angeles from a man who owes money to his mom. She stated that the man's son was
      15 II kidnapped, and he had to pay $3 million pesos for his release. Lener's mom sold a ranch to
      16 II help him pay for the ransom. The man was paying back Lener's mom in installments. Lener
      17 II asked MALDONADO FELIX to go because she has a visa. Lener told MALDONADO
      18 II FELIX that the man wanted to put a GPS on her car since she was transporting his cash.
      19 II MALDONADO FELIX gave her vehicle to Lener the day before based on the belief that a
      20 GPS would be installed. She said that she was going to be paid $1,000.

      21       14. MALDONADO FELIX stated that she bought the vehicle in January of this
      22 year and that she is the only one that uses it. MALDOANDO FELIX stated that she drove

      23 two hours from Ensenada and was in line to cross the border for about 1.5 hours.
      24 MALDONADO FELIX stated that the vehicle did smell weird.
      25
                  15.   In light of the above facts, MALDONADO FELIX's statements, and my own
      26
           " experience and training, there is probable cause to believe that MALDONADO FELIX was
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              · the Target Dev1ce· to commumcate·                                           . of 1·11·1c1t
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      28
         II narcotics into the United States based on the facts and circumstances of this case and,
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          1 particularly, how common use of cell phones are to facilitate drug trafficking.
          2         16.    In my training and experience, narcotics traffickers may be involved in the
--   -
          3 planning and coordtnation ofa drug smugglingevent in thedays and-weeks priorto an- •--
          4 event. Co-conspirators are also often unaware of a defendant's arrest and will continue to
          5 attempt to communicate with a defendant after their arrest to determine the whereabouts of
          6 the narcotics. Based on my training and experience, it is also not unusual for individuals,
          7 such as Defendant, to attempt to minimize the amount of time they were involved in their

          8 smuggling activities, and for the individuals to be involved for weeks and months longer
          9 than they claim. Accordingly, I request permission to search the Target Device for data
         10 beginning on January 1, 2019, when MALDONADO FLEIX claimed she initially
         11 purchased the car until August 24, 2019, which was the day following MALDONADO
         12 II FELIX's arrest.
         13                                      METHODOLOGY
         14         17.    It is not possible to determine, merely by knowing the cellular telephone's
         15 II make, model and serial number, the nature and types of services to which the device is
         16 II subscribed and the nature of the data stored on the device. Cellular devices today can be
         17 II simple cellular telephones and text message devices, can include cameras, can serve as
         18 II personal digital assistants and have functions such as calendars and full address books and
         19 II can be mini-computers allowing for electronic mail services, web services and rudimentary
         20 II word processing. An increasing number of cellular service providers now allow for their
         21 II subscribers to access their device over the internet and remotely destroy all of the data
         22 II contained on the device. For that reason, the device may only be powered in a secure
         23 II environment or, if possible, started in "flight mode" which disables access to the network.
         24 II Unlike typical computers, many cellular telephones do not have hard drives or hard drive
         25 II equivalents and store information in volatile memory within the device or in memory cards
         26 II inserted into the device. Current technology provides some· solutions for acquiring some of
         27 II the data stored in some cellular telephone models using forensic hardware and software.
         28 II Even if some of the stored information on the device may be acquired forensically, not all

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  1 II of the data subject to seizure may be so acquired. For devices that are not subject to forensic
 2 II data acquisition or that have potentially relevant data stored that is not subject to such
-- 3 II acquisition,-the examiner muscinspecr the device manually and tecora the-process and the •-
 4 II results using digital photography. This process is time and labor intensive and may take
  5 II weeks or longer.
 6 II       18.    Following the issuance of this warrant, I will collect the subject cellular
  7 II telephone and subject it to analysis. All forensic analysis of the data contained within the
  8 II telephone and its memory cards will employ search protocols directed exclusively to the
 9 II identification and extraction of data within the scope of this warrant.
10          19.    Based on the foregoing, identifying and extracting data subject to seizure
11 II pursuant to this warrant may require a range of data analysis techniques, including manual
12 II review, and, consequently, may take weeks or months. The personnel conducting the
13 II identification and extraction of data will complete the analysis within 90 days, absent
14 II further application to this court.
15                        PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
16          20.    Law enforcement has not previously attempted to obtain the evidence sought
17 11 by this warrant.
18                                          CONCLUSION
19          21.    Based on the facts and information set forth above, there is probable cause to
20 II believe that a search of the Target Device will yield evidence of MALDONADO FELIX's
21 II violations of Title 21, United States Code, Sections 952, 960 and 963
22 II       22.    Because the Target Device was seized at the time of MALDONADO FELIX's
23 II arrest and has been securely stored since that time, there is probable cause to believe that
24 II such evidence continues to exist on the Target Device. As stated above, I believe that the
25 II appropriate date range for this search is from January 1, 2019 through August 24, 2019.
26 II       23.    Accordingly, I request that the Court issue a warrant authorizing law
27 enforcement to search the item described in Attachment A and seize the items listed in
28 Attachment B using the above-described methodology.

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 1
 2 II I swear the foregoing is true and correct to the best of my knowledge and belief.
- 3-"-

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                                             --k
                                          Jeffery 1126 rter
 5
                                          Special Agent, Homeland Security Investigations
 6
 7   11   Subscribed and sworn to before me this   L/ ft-,   day of November, 2019.

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 9          A¾inMM-~
      Hon. Allison H. Goddard
10 II United States Magistrate Judge
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                                ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

                   LG LM-X220MB Cellular Phone
                   Serial No. 905CYCV0073595
                   IMEI 355292-10-065595-4
                   ("Target Device")


The Target Device is currently in the possession of Office of the Special Agent in Charge
at 880 Front Street in San Diego, CA 92101.
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                                  ATTACHMENTB

                                ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period of January 1, 2019 through August 24, 2019:

      a.     tending to indicate efforts to import methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States; .

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device;

      f.     tending to support or contradict Maldonado-Felix' s post-arrest statement;

      g.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;
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which are evidence of violations of Title 21, United States Code, Sections 952, 960 and
963.
